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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x
DIGILYTIC INTERNATIONAL FZE, et al.,                          :
                                                              :
                         Plaintiffs.                          :   20-CV-4650 (AJN) (OTW)
                                                              :
                      -against-                               :   ORDER
                                                              :
ALCHEMY FINANCE, INC., et al.,
                                                              :
                         Defendants.                          :
                                                              :
                                                              :
--------------------------------------------------------------x

         ONA T. WANG, United States Magistrate Judge:

         Plaintiffs and pro se Defendant Jahari Bell appeared for an initial pretrial conference on

January 6, 2021. The remaining Defendants have not appeared in the action, and there is a

pending motion for a default judgment against them. (ECF 40). Defendant Sheng-Wen Cheng is

also a defendant in a criminal action brought by the United States Attorney’s Office for the

Southern District of New York. At the conference, Defendant Bell indicated that he sued his co-

defendants, his former employer, on other grounds in state court.

         As directed at the conference:

    •    Defendant Bell may file a dispositive motion by February 24, 2021; Plaintiffs may
         respond by March 17, 2021; and Defendant Bell may reply by March 31, 2021.

    •    Plaintiffs shall submit monthly status letters, starting February 5, 2021, that shall
         describe any related actions against Defendants, including any criminal or enforcement
         proceedings.

    •    Defendant Bell shall produce any responsive documents that he has already produced,
         or that were produced to him in the state action.
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   •   Plaintiffs are directed to order a copy of the January 6 conference transcript and serve a
       copy on Defendant Bell.

       SO ORDERED.



                                                          s/ Ona T. Wang
Dated: January 11, 2021                                 Ona T. Wang
       New York, New York                               United States Magistrate Judge




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